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       MINUTE ENTRY
       KNOWLES, M.J.
       NOVEMBER 2, 2015

                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

       GENE A. LOVE, SR.                                                  CIVIL ACTION

       VERSUS                                                             NO. 15-550

       GREATWIDE DEDICATED
       TRANSPORT, III, L.L.C., et al                                      SECTION "A" (3)

               A Settlement Conference was conducted this date.

               Present:      Daniel Meyer
                             Gene A. Love, Sr.
                             Alex Tilling
                             Mike Woolley (By telephone)

               Following discussions among the parties, the above-captioned case has settled. The U.S.

       District Judge's chambers have been notified. Counsel and the parties are thanked for their

       cooperation in amicably resolving this matter.




                                                   DANIEL E. KNOWLES, III
                                                   UNITED STATES MAGISTRATE JUDGE




MJSTAR(1:00)
